        Case 3:18-md-02843-VC Document 1098 Filed 01/25/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  LAUREN PRICE, et al.,                           Case No. 18-md-02843-VC
                Plaintiffs,
                                                  ORDER RE ADI COMMUNICATIONS
          v.
                                                  Re: Dkt. Nos. 916-9
  FACEBOOK, INC., et al.,
                Defendants.



       Paragraph 17 of Special Master Garrie’s January 10, 2022 Supplemental Order Regarding

Production of ADI Related Documents references several documents he reviewed that Facebook

produced in discovery. See Dkt. No. 916-9 at 6. Facebook is ordered to file those documents on

the docket by January 27, 2023.

       IT IS SO ORDERED.

Dated: January 25, 2023
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
